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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF NEW YORK
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 ALLSTATE INSURANCE COMPANY,
 ALLSTATE INDEMNITY COMPANY,
 ALLSTATE FIRE & CASUALTY INSURANCE                                      Docket No.:
 COMPANY, AND ALLSTATE PROPERTY &                                        2:22-cv-02424-JMA-AYS
 CASUALTY INSURANCE COMPANY,

                           Plaintiffs,                                     STIPULATION

                  vs.

 JEFFREY S. RAUCH, D.C. d/b/a
 REGO PARK HEALTHCARE ALLIANCE,
 JACQUELINE M. LEWIS, M.D.,
 RICHARD C. KOFFLER, M.D.,
 SARI R. RAUCH,
 FRED J. JONES, JR., D.C.,
 JOHN J. MCGEE, M.D.,
 TODD R. GOLDMAN, D.C.,
 BI COUNTY MEDICAL DIAGNOSTICS, P.C.,
 APOLLO MEDICAL DIAGNOSTICS PLLC,
 ISLAND MEDICAL DIAGNOSTICS PLLC,
 MOTION MEDICAL DIAGNOSTICS, P.C.,
 FRED JONES CHIROPRACTOR P.C., d/b/a
 SUNRISE CHIROPRACTIC,
 YELLOWSTONE MEDICAL REHABILITATION P.C.,
 AND DR. TODD GOLDMAN, CHIROPRACTOR, P.C.,

                            Defendants.
 ----------------------------------------------------------------------X


         IT IS HEREBY STIPULATED AND AGREED, by and between counsel for plaintiffs

 and counsel for defendants, JEFFREY S. RAUCH, D.C. d/b/a REGO PARK HEALTHCARE

 ALLIANCE, RICHARD C. KOFFLER, M.D., SARI R. RAUCH, FRED J. JONES, J.R., D.C.,

 JOHN J. MCGEE, M.D., TODD R. GOLDMAN, D.C., APOLLO MEDICAL DIAGNOSTICS

 PLLC, ISLAND MEDICAL DIAGNOSTICS PLLC, MOTION MEDICAL DIAGNOSTICS P.C.,

 FRED JONES CHIROPRACTOR P.C. d/b/a SUNRISE CHIROPRACTIC, YELLOWSTONE



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 MEDICAL REHABILITATION, P.C., and DR. TODD GOLDMAN, CHIROPRACTOR, P.C.

 (“Defendants”), that that Defendants’ time to respond to plaintiff’s discovery requests is extended

 through and including October 20, 2022.

        IT IS FURTHER STIPULATED AND AGREED by and between the undersigned that

 electronic signatures may be used, and this stipulation may be signed in counterparts.


 Dated: September 21, 2022


 /s/ Hugh C.M. Brady, Esq.                            /s/ Neil Torczyner, Esq.

 __________________________________                   __________________________________
 Hugh C.M. Brady, Esq.                                Neil Torczyner, Esq.
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                                                      /s/ Nicholas P. Bowers, Esq.

                                                      __________________________________
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 Dated: ______________________                  SO ORDERED.


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                                                Honorable Joan M. Azrack
                                                United States District Judge




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